EXI-IIBIT 1

Sumo & STERNLmB, LLC

 

 

 

 

 

 

 

 

 

Nolmn>om PRoPBssIoNAL BuerNG ' . - ‘ n ill §
176 norms 9 NoRTH, sun'E 303 3 5 4
ENGLISHTOWN, NEw masBY 07726 1 ' _ __ 8 ?_Q‘\?. '__
(732)617~8050 ' . W~ MAR__&;Z m
Auorneys for Plaintiffs, Ashley Gremminget and Julio Rivas_ _' _‘ -' '
ASBLEY GREMMINGER AND JULIO SUPERIOR.GO "
CEZAR RIVAS, LAW DIVISION
COUNTY
PLAINTIFFS,
DOCKET NO.: MON-L- 973 ;')-'
-VS.- CIVIL ACI‘ION
MONMOU'I'H FAMI.LY HEALTI~I CA.RE
CENTE.R, INC., MONMOUTH COMPLAINTANDJURY DEMAND
MIEDICAL CENTER, NATALYA P.

K`UGAY, M.D., MARANATHA
LOUGHEED, M.D., AND, JOHN DOE
#1-20 (FICTITIOUS NA.MIES BE!.NG
UNK.`NOWN),

DEFENDANTS.

 

 

Pla.intift`, Ashley Gremminger, residing at 14 Brevent Avmue, Leona:do, within the
Township of Middletown, Co\mty of Monmouth and Smte of New Jersey, and, Plaintiff, Julio
Cezar Rivas, currently residing at 1631 John F. K'.ennedy Boulevard, Apartment SR, Jmey City,
New Jersey, by way of their Complaim and Demand for a Jury Trial against the defendants,
allege the following:

FIRST C'O Q§f]f
1. At all relevant timw, Plaintiff, Ashley Gremminge:, bom January 7 1990, resided at 14

Brevant Avenue,' m the Leonardo section of Mddletown, New Jersey, within the Couuty

of Monmouth and Swte ofNew Jersey.

2. At all relevant times, Plaintil.’c`, lulio Cesar Rivas, born November 13, 1983, resided in
lerse'y City, New Jersey.

3. At all relevam times, the Plainti:&`s were the parents of a female fetus carried to
approximately 35 weeks gestational age by Ashle:y Gremminger until March 5, 2010.

.1-

 

 

 

 

4. On or about March 5, 2010, the Plaintlff, Ashley Gcemminger, after being induced into
labor at Monmouth Medical Centel‘, delivered a stillborn baby girl at 35 weeks
gestatlonal age. 'l`his procedure was necessary because on March 3, 2010, the Pleintiffs
were advised that the results of an ulu'asound study performed at the hospital conlinned
the intrauterine demise of the aforesaid fema. 'I'hereafter, nom March 3 to March S,
2010, the Plaintiff, Ashley Gremminger. remained in the hospital, suffered severe
emotional distress, mental anguish and physical pain, and was induced into labor until
delivering her sb'llborn female baby on March 5, 2010.

5. Plainti&`s, Ashley Gremminger and lulio Cmr Rivas suffered great emotional distress
and mental anguish occasioned by their baby’s stillbirth and the inhauterine death of their
unborn baby.

6. The Plaintiffs bring this action because Ashley suffered from diabetes during the
aforesaid pregnancy, yet she received inappropriate care and treatment for this condidon,
such as insulin injections, which would have protected Ashley and her unborn baby from
the insidious known effects of diabetes, such as fetal death, and/or because Ashley‘s
pregnancy was mismanaged and/or improperly treated by the defendants, who failed to
meet the generally accepted standards of medical care in the diagnosis and cement of
Plaintiff’s medical condidons and complications arising from or associated with her
Pl`e@an¢¥»

7. Ac all times relevant herein the Defendant, Monmomh Family Health Care Center, Inc.,
had professioml offices for the practice of medicine at 270 Broadway, Long Brancb,
New Jersey and upon the campus of Monmouth Medical Center located at 300 Second
Avenue, Long Branch, New Jersey, and, et all relevant time, held itself out to the public
and Plaintifl"s as a provider of high quality, ali`ordable, community health care servicei,
including, but not limited to, prenatal medical care, and, at all relevant times, the
defendant was duly licensed, authorized, and registered by and within the State ofNew
Jersey for such purposes

s. m au relevant ames the defendm, Momnomh Meaical center, was a duly licensed
a\nhorized, incoxporated, chartered, and/or organized hospital in the Smte ofNew .lersey,
located at 300 Second Avenue, Long Branch, New .lersey, which held itself out to the
public and Plainfi&`s as being competent to provide healthcare and medical services
within the generally accepted standards of care delivered by the hospital, its staff

physicians, agents, servants and employees

.z-

 

 

 

9. A;t all relevant times, the defendants, Monmcuth Fantily Health Care Center, Inc. and
Monmouth Medical Center had a contractual, formal and/or informal agreement to share
physical resorn'ces and/or personnel for the delivery of healthcare services to the public,
including, but not limited to, the use cf certain facilitiesa rooms and equipment upon the
campus at Monrnouth Medical Centec, physicians support staff, and/or other
arrangements for the delivery of healthcare services to the community-

10. At all relevant timcs, the defendants Maranatha lougheed, M.D. end Natalya P. Kugay,
M.D., were physicians, duly licensed and authorized to practice medicine within the State
of New .Iersey, and, at all relevant times, each was the employee agent and/or servant of
the defendants Monmouth Farnily Heaith Care Center, Inc. and/or Momnouth Medical
Center, and/or each of them was employed by, operated or maintained their own private
practices of medicine within the State ofNew lersey.

ll . At all relevant times, the defendants Natalya P. Kugay, M.D. and Maranatha Lougheed,
M.D., held themselves out to the public and Plaintiff; Ashley Gremmingec, as possessing
the requisite degree of knowledge skill, training and experience necessary to
competently diagnose and treat various medical conditions associated With the medical
care ofapregnant woman andher fetus required ofaphysician specializingin obstetrics
and gynecology, including, but not limited to, gestational diabetes and the complications
of pregnancy related theretc. _

12. At all relevant times on and before March 5, 2010, the defendants Natalya P. Kngay,
M.D. and Maranath Lougheed, M.D, were _n»;t board certified by any medical specialty
board issuing board certiiications within the field of obstetrics and gynecology, such as,
but not limited to, the American Board of Medical Specialties' A.mcl'ican Board of
Obstetrics and Gynecology. In fact, at all relevant times, herein, the defendants, Dr.
Kugay and Dr. Lougheed were either residents and/or employees of the defendants
Monmouth Medical Center and/or Monmoutb Faxnily Health Care Center, Inc. and, as
such, were each under the supervision of one or more heretofore unknown and
unidentified physicians employed by the aforesaid defendants possessing more
experience than these defendants in the specialty of obstetrics and gynecology.

13. Commencing sometime on or after July 31, 2009, the Plainti&`, Ash.ley Gremminger,
submitted herself to the medical care and attention of the defendants for the diagnosis
management care, and treatment regarding her pregnancy, and, at all relevant times, a
physician-patient and/or healthcare provider-patient relationship was established and did

-3-

 

 

 

exist uninterrupted throughout the Plaintiff's pregnancy until the aforesaid stillme
delivery of March 5, 2010, and, for some time thereatter.

14. At all relevant times, the Plaintiff, Ashley Gremminger, relied upon and trusted the
defendants to provide her With competent medical care and advice for the benefit, health,
and well-being of the Plaintiff and her fetus.

15. Commencing in or about September 2009, the Flaintid`, Ashley Gremminger, presented
to the defendants Monmouth Fa.mily Heallh Care Ccnter, lnc., Monmouth Mcdical
Center, their agents, servams and/or employees for monthly prenatal care, yet, the records
Supplied by the defendants Monmouth Medical Center and Monmouth Family Health
cans `c:escer, mc., identify only ear me folloqu physicians attended to Asmey's
prenatal care in December 2009 and February 16, 2010 - defendant, Maranatha
Lougheed, M.D. and defendant, Natalya P. Kugay, M.D., and, according to these records,
Dr. Kugay also attended to the Plaintiii`iinm March 3-5, 2010 at Morn'nouth Medical
Center.

16. On or about February 16, 2010, defendant Natalya P. Kugay, M.D. diagnosed the
Plai.nti§, Ashley Gremminger, with gestational diabetes and chronic hypertension at
Monmo\lth Medical Center. yet» Dr. Kugay discharged Ashley home with no
prescriptions for any medications and without any medications to treat these conditions

17. At all relevant times, Jolm Does # 1-20 are tictiticusly pleaded defendants included in
this matter as allowed by the New Jersey Rnles of Court, and, intended to represent
heretofore unknown and/or maidentiiied persons and/or entities of any kind whatsoever
later discovered to be liable to the Plaintiii`$ in this matter under any permissible legal
theory, at which time, an appropriate motion would be made for leave ofthe Court to
amend this Complaim to include the true identity of any such newly discovered
defendant

18. On one or more occasions during her pregnancy, the Plaintiff, Ashley Gremminger,
presented to the defendants for denomination and treatment related to her pregnancy, at
which time she was disposed with gestntional diabetes and discharged without having
received any neatment for diabetes, medications to take home with her for diabetes
treannent, or prescriptions for medications to take for diabetes

19. On one or more occasions dining her pregnancy, the Plaintiii`, Ashley Gremminger,
presented to the defendants for examination and treatment for complications with her

.4.

 

 

 

pregnancy, Such as her reported sensation that her baby was not as_ active as hefore, at
which time, the defendants discharged the Plaintift` horne rather than providing her with a
complete and appropriate workup as to the causes and available treatments for this
aforesaid issue.

20. Plainti&` submitted herselfto the care and attention of the various defendants for visits,
examinations and treatment between July 31, 2009 and March 3. 2010. During this
period of time, although the various defendants, their agents, servants, mployees, and
supporting staff of assistants knew or should have known through reasonable tcsti.ug,
follow-up testing, and basic medical care, that the Plainti&`, Ashley Gremminger was
diagnosed with gestational diabetes and chronic hypertension yet, at no time did any of
the defendants prescribe order, and/or administer any medications or other therapeutic
modelities intended and designed for the treatment of gestational diabetes, such as
insuliu, or for the treatment of chronic hypertensiono which in and of itself constituted a
deviation and/or departure from the generally accepted standard of care required for the
treatment of gestmional diabetes

21. The defendants fonther deviated from the generally accepted Standards of care in that
each and/or all of them failed to properly and adequately advise and inform the Plaintii¥,
Ashley Gremrninger, of the complete name and extent of her condition as well as its
effects on the fetus she was carrying, and, furthermore failed to provide the Plaintiff,
Ashley Gremminger, with information concerning the benefits to her and her fetus of
treating her condition of gestational diabetes with widely used, effective medications,
such as insulin, nor did the defendants provide the Plaintift` such advice concerning
chronic hypertension Moreover, the defendants failed to inform the Plaintiff, Ashley
Gxemminger, that her unborn baby could die in-utero or could be sn'llborn, among other
risks, without appropriate treatment of gestetional diabetes and/or chronic hypertension

22. On or about one or more of occasions during the aforesaid pregnancy between July 31,
2009 and March 3, 2010, the Defeudants, their agents, servants, and/or employees,
deviated from the applicable generally accepted standards cf medical care in prenatal
medicine, obstetrics and gynecology in that each and/or all of them failed to properly

pcrform, supervise interpret read, manage, direct, report, appreciete, explain, and/or
follow-up on one or more of the aforesaid prenatal diagnostic studies, and, in all other
ways, the Det`endants were careless and/or negligent in the exercise of their respective

-5.

 

 

 

duties owed to the Plaintlii` and in their respective departure and!or deviations from the
generally accepted standards cf medical practice

23. At all relevant times, the defendants Monmouth Medica,l Center and/or Monmouth
Family Health Care Centcr, Inc. were, in all other ways, careless and negligan in that
each or both of them breached all applicable duties owed to the Plaintitfs, failed to have
eii"ectivc, appropriate and required policies and procedures in place, nnd, if they did,
failed to properly follow them, and, each or both ofthem were additionally negligent
and/or careless in the hiring, supervision, direction and/or retention of the defendant
physicians in this answer along with any other of their respective agents, servants or
employees whose negligence or carelessness caused or contributed to the Plaintiffs'
damages

24. At an relevant times the mcmann Monmouo Medi¢az center md Monmourh Famny
Health Care Ccnter, Inc. are vicariously liable for the deviations from generally accepted
medical standards negligence and/or carelessness of its agents, servants, and employees,
including any ofthc physicians named as defendants herein who were employed by one
or both of the aforesaid defendants.

25 . At all relevant timss, the defendants committed timber deviations from the generally
accede standards ofmedical practice under the circumstances by failing to import the
Plaintiff; Ashley Gremmingcr, with sufficient information in order for her to provide
informed consent concerning her treatment and medical condition as they might affect
her and her fetus.

26. As a direct and proximate cause of the aforesaid deviations from the generally and well
accepted standards of medical practice, negligence and careless acts and/or omissions of
the Defendants, their agents, servants, and/or employees as alleged herein, the female
fetus carried for 35 weeks gestation by the Plaintit"c`, Ashlcy Grecnminger, suffered fetal
demise on or about March 3, 2010 and was caused to be stillborn on March 5, 2010.

27. As a direct and proximate cause of the foregoing the Plaintiii`s, Ashley Gremminger and
.Tulio Cezar Rivas, have suffered and continue to suffer severe and permanent pain and in
the fonn of great mental anguish and emotional distress over the loss of their expectant
baby daughter, hedonic damages for their loss of enjoyment of life arising &om their
great mental anguish and emotional distress, lost time ii'om employment resulting in

 

 

substantial loss of income, and they have been caused to incur and will continue to inelu'
substantial bills for the muneut of their emotional distress and mental anguish

Wherefore, the Plajxxtiffs, Ashley G'remminger and Julio Cezar Rivas, demand judgment against
the Defendants for all compensatory damages recoverable by law, together with interest,
attorney’s fees, costs of suit, and all other relief the Court deems fair and just under the
chemsmnces.

Shapim and Sterolieb, LLC
Atmmeys for Plaintiff

    

Dated: March 2, 2012

DEMAND FOR BY JURY
Plaint.iEh€reby demands atliaI hyjury as to 811 issues

 

NOTICE OF TRI.AL CO S

Please take notice that David H. Sternlieb, Esquize is hereby designated as Trlal Couusel
in the above-captioned matter for the finn of Shapiro & Stemlieb, LLC, attorneys for due
Plaj.utitfs, pursuant to Rule 4:25 et. seq.

DEMAND FOR ANSWERS TO UN]FORM AND SUPPM IAL
U\ITERROGATOBI_E§

PLEASE TAKE NO'I'ICE that pursuant to Rule 4:17-1(b)(ii)(2), Plaintii'fs hereby
demands answers to Uniform Interrogatories Form C and Form C(3) within sixty (60) days
of the filing of Defendant’s Answer 110 this Complaint

 

 

SHAPmo & STERNL!EB, LLC
176 Route 9 North, Suito 303
Englishtown, New Jersey 07726
P: 732-617-8050
Attorneys for Plaintiffs

 

 

ASI'ILEY GREMMINGER AND JULIO SUPERIOR COURT OF NEW JERSEY
CEZAR RIVAS, MONMOUTH COUNTY
LAW DIVISION - CIVIL

 

PLAIN'I'IFFS,
DOCKET No.; MoN-L-973-12
-vs.-
MoNMouTn FAMJLY HEALTH cARE
anTER, mc., MoNMou'rn sum/tons
MEDICAL cEN'rER, NATALYA P. l
KUGAY, M.n., MARANATHA

LoUonnEn, M.u., ANn, JoHN non
#1-20 mcrmous NAMES Bnn~to l
uNI<NQWN),

nEFENDANTs.

 

 

FROM THE STA'I'E OF NEW J'ERSEY TO TI~IE DEFENDANT(S) NAMBD ABOVE:
Monmouth Family Health Care Center, Inc. `
'l'he plaintiff named above, has filed a lawsuit against you in the Superior Court of New Jersey.
'I'he complaint attached to this summons states the basis for this lawsuit If you dispute this
complaint, you or your attorney must tile a written answer or motion and proof of service with
the deputy clerk of the Superlor Cotn't in the county listed above within 35 days from the date
you received this summons, not counting the date you received it. ('l'he address of each deputy
clerk of the Superior Court is provided) A $135.00 filing fee payable to the clerk of the
Superior Court and a completed Case Information Stntement {available from the deputy clerk of
the Superior Court) must accompany your answer or motion when it is filed. You must also send
a copy of your answer or motion to plaintiffs attorney whose name and address appear above, or
to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you

must file and serve a written answer or motion (with fee and completed Case Infonnation

 

 

 

Statement) if you want the court to hear your defense

If you do not file and serve a written answer or motion within 35 days, the court may
enter a judgmentagainst you for the relief plaintiff demands, plus interest and costs of suit. If
judgment is entered against you, the Sheriff may seize your money, wages or property to pay all
or part of the judgment

If you cannot afford an attomey, you may call the Legal Services office in the county
where you live. A list of these offices is provided lfyou do not have an attorney and are not
eligible for dee legal assistance, you may obtain a referral to an attorney by calling one of the
lawyer Referral Services. A list of these numbers is also provided

/§/`Jennif_e_r__l_\_{__. Perez
.TENNIFER M. PEREZ
Clerk of the Superior Court

Dated: ngember 6, 2012

Name ofDefendant to be Served: Monmouth Family Health Care Center, Inc.

Address of Defendant to be Served: 270 Broadway
Long Branch, New _lersey

 

 

